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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORE

UNITED STATES OF AMERICA,
Plaintifl,
“ye No. 20 Civ. 10121 (NSR)

VILLAGE OF AIRMONT,

Defendants.

AFFIDAVIT OF RABBI ABRAHAM HOROWITZ
1. I, Rabbi Abraham Horowitz, reside at 11 Murray Drive, Airmont, NY [0952.

2. Tam Rabbi and President of Congregation Khal Boston, an Orthodox Jewish
congreyation located in Airmont. My family and I have lived in Airmont since about
2006.

3. Itis the sincerely held religious belief of my Orthodox Jewish communtiy that at Icast
ten men (age 13 and up) must come together to pray once in the morning and once in
the afternoon each day. It is our sincerely held religious beltef that we cannot walk on
the Sabbath or some holidays, and so we must live within walking distance of our
place of worship. As a result, having worship areas located within homes is an
important requirement under our faith,

4. My religious beliefs require that { welcome any one to pray in my home, even if] am
not their Rabbi. [ also need a mikvah in my home to allow myself and those that come
for prayer to take Jewish ritual purification baths. Only a small number of people can
use the mikvah at a time.

5, Additionally, for the holiday Suxkos (Sukkzh), which starts four days after Yom
Kippur, the holiest day of the year, I must build a-sukkos, or srnall hut, in my yard
prior to Yom Kippur. Sukkos lasts nine days.

6. Starting in 2007, a number of my neighbors began to meet in my home for prayer, in
an additional room that I used for this purpose. J received a Certificate of Occupancy
(COO) for this room.

7. In June 2008, | received a letter from [an Smith, the former building inspector for
Airmont. The letter stated that I reeded to take steps to “iegalize” my “hours of
worship.”
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I wanted to make sure that my home worship area complied with the law. My
understanding was that | needed to apply for a permit for operation of my home
worship space fram the Village Planning Board and Community Design Review
Committes.

[ submitted a site plan of my home worship space, which totaled about $50 square
feet for use by about 15 congregants, for review around April 2012 and appeared
before the CDRC in June 2012. | was told that my plan needed to reconsider the
proposed parking layout and was directed to submit a more detailed floor plan and
come back to the CDRC.

), | submitted new materials in January 2013 but was not heard before the CDRC until

May 2013. Al that meeting, I was told that my re-submitted plan did not have the

“required 21 spots for parking, a number that was not raised in the earlier CDRC

mesting, T was also told that] needed to submit plans showing the interior layout of
the proposed home worship space, including where all the seats would go.

. Lrevised my submissions in October 2013 and went before the CDRC again im

November 2013. This time, | was told for the first time that ] needed to submit a full
site plan that showed additional intormation like landscaping details, and that I
needed ta reapply to the CDRC,

I again revised my submissions in February 2014, and went before the CORC again
in March 2014, I was told that my landscaping plans had to be redone and informed
of new problems for my proposal, including issues with the driveway. The CDRC
finally agreed that if ! made these changes, I could go before the Planning Board with
my application,

I finally went before the Planning Board in February 2015. Although I had made the
changes discussed with the CDRC, the Planning Board found new problems with my
proposal for lighting and landscaping. The Planning Board heard comments from the
public about my application and adjourned the meeting without taking final action.

I went before the Planning Board again in August 2015. The Planning Board
approved by proposal for a permit for a 850 square feet of worship space, but only if]
paid nearly $4,000 in fees and agreed ta change the type of tree included in my
landscaping plan.

. Although I felt thal the CDRC and Planning Board kept finding new problems with

my proposal during each hearing, because | wanted to receive my permit as soon as
possible, I felt ] had no choice but tv provide the materials and make the changes
newly requested during each meeting.

During the permit process, we had to make a number of expensive changes to the

worship space, like installing a fire alarm system, panic bar, and exit signs, | had an
inspection from the Village officials during this period. The place of worship located
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in my hame passed that inspection.

After the Planning Board's approval of my permit, 1 called the Village Planning and
Zoning Department to find out what was holding up my COO, A few weeks after the
approval, | was told by Suzanne Carley from the Planning and Zoning Department
that the new Village building and fire inspectors, Louis Zummo and Shlomo
Pomeranz, did not want to sign off on my COO and wanted me to have a new CDRC
meeting,

_ At some point, 1 called Shlomo Pomeranz and asked him what the problem was with

my application. 1 explained | had already been approved. He responded by yelling
that it didn’t matter, and that T had to go before the CDRC again because he said so.

Because I needed the COO and felt ] had no other option, I paid the money and went
before ihe CDRC again on October 11, 2016. The CDRC identified new problems
with my proposal, which had already been approved by the Planning Board, including
issues again with parking and the false claim that | lacked an indoor batnroom. The
CDRC informed me that I needed to submit new architectural plans, which cost
thousands of dollars, and that a new fire inspection was needed, even though the fire
alarm system had been previously approved.

I went before the CDRC again on December 13, 2016. The CDRC now identified an
additional 11 problems with my proposal for the first time.

I spent over $20,000 on the application process,

I have still not received my COO.

I declare (or certify, verify, or state} under penally of perjury that the foregoing is true and
correct. Executed on February t? , 2021.

Rabbi Abraham Horowitz
